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 4
 5                    UNITED STATES DISTRICT COURT
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 7                            DISTRICT OF NEVADA
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10
11   UNITED STATES OF AMERICA,     )
                                   )
12             Plaintiff,          )
                                   )
13                                 )
        vs                         )         2:12-mj-115-CWF
14                                 )
      JESSICA CASILLAS,            )
15                                 )
               Defendant,          )
16   ______________________________)
17             ORDER REQUIRING PAYMENT FOR APPOINTED COUNSEL
18             Pursuant to the provisions of the Criminal Justice Act,
19   18 U.S.C. 3006A, Thomas Pitaro, Esquire was appointed as counsel
20   for the above-named defendant on March 1, 2012.
21        Based upon a review of the defendant’s financial affidavit
22   and other relevant inquiry, the Court now finds that the defendant
23   possesses financial resources sufficient to bear some or all of
24   the cost of his or her CJA representation, i.e., funds are
25   available from or on behalf of the defendant for payment of
26   compensation and expenses of court-appointed counsel and/or for
27   other services necessary for adequate representation.              Accord-
28   ingly, pursuant to the provisions of 18 U.S.C. 3006A(f),
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 1        IT IS ORDERED that the defendant shall reimburse the Treasury
 2   of the United States for the cost of his representation at the
 3   rate of $700.00 per month, payable to the Clerk of the Court for
 4   deposit in the Treasury, as follows: the defendant’s first payment
 5   shall be due on April 1, 2012, and subsequent payments due on the
 6   1st day of each month thereafter until the case has been concluded.
 7   The total amount of reimbursement shall be determined by the Court
 8   at the conclusion of this case.
 9        Dated this 1th day of March, 2012.
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11
                               UNITED STATES MAGISTRATE JUDGE
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